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                        IN THE UNITED STATES DISTRICT COURT
14                NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
15
     CALIFORNIA COALITION FOR WOMEN
16   PRISONERS, et al.,
                                                 Case No. 4:23-CV-04155-YGR
17                   Plaintiffs,
                                                 [PROPOSED] ORDER ON
18           v.                                  UNSEALING
19   UNITED STATES OF AMERICA FEDERAL
     BUREAU OF PRISONS, et al.,
20
                     Defendants.
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     [Proposed] Order On Unsealing                         Case No. 4:23-CV-04155-YGR
          Case 4:23-cv-04155-YGR Document 368 Filed 08/09/24 Page 2 of 3




 1            The following docket entries will be unsealed:

 2    ECF No.      Portions to be unsealed:
      46           Page 15, portion of lines 11-14 (through line 14 at “(Docs. 10 at 15; 10-15 at 3.)”);
 3                 Page 15, portion of lines 16-17 (through line 17 at “(Doc. 10 at 15.)”);
 4                 Page 15, portion of lines 19-21 (from line 19 at, “Plaintiffs allege” . . . to line 21 at
                   “(Doc. 10-25 at 2-4.)”);
 5                 Page 15, portion of lines 23-25 (from “Plaintiffs allege” . . . to “R.B. did not
                   report the incident.”);
 6                 Page 16, portion of lines 1-2 (from “Plaintiffs allege . . . to “(Docs. 10 at 15-16;
                   10-43.)”);
 7                 Page 16, lines 3-5 (from “During this same time” … to “(Docs. 10 at …)”);
 8                 Page 16, portion of lines 6-7 (from “Also in January 2023,” to “Docs. 10 at …)”);
                   Page 16, lines 9-11 (through “10-9.)”);
 9                 Page 16, lines 12-19;
                   Page 23 lines 9-17; (through “(Docs. 10-24; 10-25.)”),
10                 Page 23, lines 18-23 (from “Plaintiffs allege” … to “(Doc. 10-5.)”);
                   Page 23, lines 24-27;
11                 Page 24, lines 1-4
12    46-1         Page 14, lines 17-18;
                   Page 15, lines 1-6;
13                 Page 16, line 2
      157-1        Entire document
14    158          Entire document
15    175-1        Page 2, 18-24, 24-28;
                   Page 3, lines 1-11
16                 Page 5, lines 6-16
      197-3        Page 1;
17                 Page 2, lines 1-15 (through “the notifications for administrative tort claims
                   generally,”), lines 18-27;
18                 Page 3;
19                 Page 4, lines 1-8
      197-6        Page 1;
20                 Page 2;
                   Page 3, lines 1-21;
21                 Page 4, lines 9-10
      206-3        Page 1;
22
                   Page 2, lines 1-9;
23                 Page 3, lines 4-5
      252-1        Entire document
24    254-1        Entire document
      260-1        Entire document
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      264-1        Entire document
26    275-1        Entire document
      287-1        Entire document
27    292          All documents can be unsealed and docketed pending the Court’s Order at Dkt.
                   275-1 also being unsealed
28
                                                        1
     [Proposed] Order On Unsealing                                             Case No. 4:23-CV-04155-YGR
          Case 4:23-cv-04155-YGR Document 368 Filed 08/09/24 Page 3 of 3




 1    332-3        Defendant concurrently submits redacted objections for public docket
      339-3        Entire document
 2    339-4        Entire document
 3
                                      filed
 4          Federal Defendants are instructed to file new versions of Dkt. Nos. 46, 46 -1, 175-1, 197-
                                 on August 5, 2024
 5   3, 197-6, and 206-3 by no later than August 7, 2024 at 12:00pm.
                          9 day of August, 2024.
              DATED this ___
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                                                         Honorable Yvonne Gonzalez Rogers
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     [Proposed] Order On Unsealing                                       Case No. 4:23-CV-04155-YGR
